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     Assistant U.S. Attorney
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4    Telephone: (916) 554-2918
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7
8                 IN THE UNITED STATES DISTRICT COURT FOR THE
9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )
                                        )    CR. S-08-0197 GEB
12               Plaintiff,             )
                                        )    STIPULATION AND [PROPOSED]
13                                      )    ORDER CONTINUING STATUS
            v.                          )    CONFERENCE
14                                      )
     MICHAEL CRAIG DENNIS,              )
15                                      )
                 Defendant.             )
16                                      )
17
18          IT IS HEREBY STIPULATED by and between Plaintiff United
19   States of America and Attorney Hugh Anthony Levine, Counsel for
20   Defendant Michael Dennis, that the status conference scheduled
21   for November 12, 2010, be continued to January 14, 2011, at 9:00
22   a.m.
23          The request to continue the status conference is made on the
24   ground that the parties are working toward resolution of the case
25   and the additional time is need to complete investigation into
26   matters related to potential settlement.         In light of this
27   additional investigation, both parties are requesting additional
28   time for attorney preparation.         The government and defendant

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1    agree that an exclusion of time is appropriate under 18 U.S.C.
2    § 3161(h)(7)(B)(iv); Local Code T4 (reasonable time to prepare).
3    This exclusion of time includes the period from November 12,
4    2010, up to and including January 14, 2011.
5         Hugh Anthony Levine agrees to this request and has
6    authorized Assistant United States Attorney Todd D. Leras to sign
7    this stipulation on his behalf.
8
9    DATED: November 10, 2010           By: /s/ Todd D. Leras
                                            TODD D. LERAS
10                                          Assistant U.S. Attorney
11
12   DATED: November 10, 2010           By: /s/ Todd D. Leras for
                                            HUGH ANTHONY LEVINE
13                                          Attorney for Defendant
                                            MICHAEL DENNIS
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1         IT IS HEREBY ORDERED:
2         1.     The status conference set for November 12, 2010, is
3    continued to January 14, 2011, at 9:00 a.m.
4         2.     Based on the stipulations and representations of the
5    parties, the Court finds that the ends of justice outweigh the
6    best interest of the public and defendant in a speedy trial.
7    Accordingly, time under the Speedy Trial Act shall be excluded
8    under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 (reasonable
9    time to prepare) from November 12, 2010, up to and including
10   January 14, 2011.
11        IT IS SO ORDERED.
12   Dated:    November 10, 2010
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14                                    GARLAND E. BURRELL, JR.
15                                    United States District Judge

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